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                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13
        EVANS HOTELS, LLC, a California            CASE NO. 18-cv-02763-RSH-AHG
14
        limited liability company; BH
15      PARTNERSHIP LP, a California limited
        partnership; EHSW, LLC, a Delaware         DEFENDANTS’ SUPPLEMENTAL
16
        limited liability company,                 JOINT BRIEF IN SUPPORT OF
17                                                 MOTION TO STRIKE
                      Plaintiffs,
18
                                                   The Honorable Robert S. Huie
19      v.

20      UNITE HERE LOCAL 30; BRIGETTE
        BROWNING, an individual; SAN DIEGO
21      COUNTY BUILDING and
22      CONSTRUCTION TRADES COUNCIL,
        AFL-CIO; TOM LEMMON, an
23
        individual; and DOES 1-10,
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                      Defendants.
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1                                        INTRODUCTION
2            Pursuant to the Court’s Order (Doc. 177), Defendants submit this supplemental
3      brief in support of their Motion to Strike (Doc. 168-1). Defendants address three
4      meritless arguments that Plaintiffs raised before Magistrate Judge Goddard in response
5      to the Court’s Order (Doc. 170) requesting a paragraph-by-paragraph list of the parties’
6      positions on allegations in the Third Amended Complaint (“TAC”).
7            Before Judge Goddard, Plaintiffs argued that the TAC’s allegations about
8      Defendants’ past petitioning against unrelated hotel developments are relevant to
9      Defendants’ “secondary objective” in purportedly threatening SeaWorld. They also
10     argued that Defendants’ past petitioning is relevant to show why SeaWorld was
11     allegedly fearful of Defendants’ purported threats. Finally, they argued that the
12     constitutional protection that applies to Defendants’ past petitioning should not shield
13     it from being the subject of this lawsuit or discovery. All three arguments are
14     misguided and ignore bedrock Supreme Court and Ninth Circuit precedent.
15                                          ARGUMENT
16     I.    Defendants’ Past Petitioning is Irrelevant to Secondary Motive.
17           As the Supreme Court has explained, Section 8(b)(4)(ii)(B) does not proscribe
18     all union activities designed to cause a cessation of business, but only those with a
19     “secondary objective”—that is, activities “tactically calculated to satisfy union
20     objectives elsewhere.” National Woodwork Mfrs. Ass’n v. NLRB, 386 U.S. 612, 644
21     (1967); NLRB v. Hotel & Rest. Emps. & Bartenders’ Union Loc. 531, 623 F.2d 61, 65–
22     66 (9th Cir. 1980) (“The tactical objective of secondary pressure is not to influence the
23     labor policy of the neutral employer against whom it is directed, but to influence the
24     labor policy of the primary employer.”). So, for example, if the pressure that Plaintiffs
25     allege Defendants inflicted on SeaWorld was intended to convince SeaWorld to adopt
26     a policy of requiring labor agreements on any co-branded hotel that SeaWorld
27     developed, this would be primary, not secondary, pressure.
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1            Plaintiffs’ only remaining claim in this lawsuit is a different and narrow one:
2      that Defendants threatened SeaWorld’s future attractions through SeaWorld’s
3      environmental consultant Allison Rolfe, in order to achieve the “secondary objective”
4      of forcing Plaintiffs to adopt labor agreements at the Bahia Resort.
5            Defendants acknowledge that TAC’s limited allegations about Defendants’
6      purported “secondary” threats against SeaWorld are material under Rule 12(f). See
7      Doc. 114, ¶¶200-221, 279-291. Nor do Defendants seek to strike Plaintiffs’ allegations
8      that Defendant UNITE HERE Local 30 once picketed Plaintiffs’ hotel in the 1990s
9      with a secondary objective (although Defendants do dispute the allegations and their
10     relevance). Defendants also accept that limited background allegations about
11     Defendants’ alleged demands for labor agreements on the Bahia project are permissible
12     as context for Plaintiffs’ Section 8(b)(4)(ii)(B) claim.
13           But Defendants strongly object to Plaintiffs’ attempt to shoe-horn their attack on
14     Defendants’ constitutionally protected opposition to the Bahia redevelopment project
15     into their narrow remaining Section 8(b)(4)(ii)(B) claim. Allegations concerning
16     Defendants’ lobbying against the Bahia project, meetings with Councilmembers,
17     purported “bribery” of City officials (which this Court has repeatedly rejected as
18     conclusory and speculative, Doc. 93, at 48; Doc. 156, at 18 n.11), purported violations
19     of open-meeting and lobbying laws, and protected speech opposing the Bahia
20     expansion were all constitutionally protected petitioning against the “primary”
21     employer—Evans Hotels—and immaterial to whether Defendants had a secondary
22     objective in their purported threats against SeaWorld. Allegations about Defendants’
23     constitutionally protected petitioning and speech concerning the Bahia project (an
24     ongoing political dispute) are immaterial, highly prejudicial, and will undoubtedly
25     confuse fact-finders, extend the length of trial, and increase the cost of discovery.
26     Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993).
27           Plaintiffs’ justifications for the need to allege and conduct discovery into
28     Defendants’ past petitioning on other, unrelated hotel developments (despite the

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1      Court’s recognition that this past petitioning is immaterial to Defendants’ motives and
2      is Noerr-Pennington-protected, Doc. 156, at 23) are also meritless.
3            First, Plaintiffs argued to Judge Goddard that unrelated past petitioning shows
4      Defendants’ purported “control over controlling bodies needed for development
5      approval.” But the TAC alleges the opposite: that this past petitioning was a “sham”
6      and largely unsuccessful. See Doc. 114, ¶171. This Court disagreed, holding that a
7      majority of the petitioning was successful, but the TAC does not offer Defendants’ past
8      petitioning as evidence of “control” over government decisionmakers. And on its face,
9      the past petitioning allegations do not establish such “control”—as with most litigants,
10     Defendants have won some of their objections, and lost some. See Doc. 93, at 20. Nor
11     is political “control” or acumen in raising legal challenges evidence of “secondary
12     motive.”
13           Second, Plaintiffs argued this past petitioning is evidence of a “pattern and
14     practice of enmeshing neutral third parties into [Defendants’] labor disputes.” But
15     Defendants’ alleged “playbook” of constitutionally protected petitioning involved
16     primary targets, not secondary ones. Each involved petitioning directly against the
17     owner or developer of a hotel project (like the alleged “primary” target in this case,
18     Evans Hotels). Doc. 114, ¶¶66-175.1
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20     ///
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22     1
         Judge Goddard questioned whether allegations related to Defendants’ alleged threats
23     to Oliver McMillan, which was seeking a development opportunity with the Port of
       San Diego along with Plaintiffs, and subsequent partnership with a different developer
24     for this opportunity were material to the remaining claim. See Doc. 114, ¶¶136-137.
25     Those allegations are also immaterial to any secondary objective in the purported
26     threats against SeaWorld. Defendants’ alleged threats against Oliver McMillan were (if
       they existed) threats against a primary target, not a secondary target. Defendants were
27     allegedly seeking labor agreements with their primary target—Oliver McMillan—not
28     trying to use pressure against McMillan to “satisfy union objectives elsewhere.”
       National Woodwork, 386 U.S. at 644.
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1      II.    Defendants’ Past Petitioning is Irrelevant to SeaWorld’s Alleged Fear.
2             Plaintiffs also argued to Judge Goddard that allegations about (and discovery on)
3      unrelated past petitioning are necessary to prove “that SeaWorld was fearful enough of
4      Defendants’ sabotage threats” to acquiesce. But whether secondary activity is
5      “coercive” is based on an objective standard, not the alleged target’s subjective
6      feelings. BE&K Const. Co. v. United Bhd. of Carpenters, 90 F.3d 1318, 1331 (8th Cir.
7      1996) (“[T]he specific language and the surrounding facts and circumstances are
8      examined, not the subjective interpretation of the listener.”).
9             In any case, Plaintiffs’ argument is a non-sequitur. Evidence as to why
10     SeaWorld was purportedly fearful of future challenges to its attractions can only come
11     from SeaWorld officials. Allegations about past petitioning that SeaWorld officials
12     may have been unaware of when they made their decision to end their joint venture
13     with Plaintiffs are immaterial. Certainly, Plaintiffs’ discovery into this past,
14     constitutionally protected petitioning is completely unnecessary to prove what
15     SeaWorld knew about Defendants’ past petitioning and whether that knowledge
16     created some sense of apprehension.
17     III.   Defendants’ Constitutionally Protected Petitioning Should Not Be a
18            Continued Subject of this Litigation.

19            Plaintiffs argued that “[e]vidence of First Amendment protected activity,
20     including petitioning activity otherwise protected by the Noerr Pennington doctrine, is
21     admissible to prove intent.” They cited Wisconsin v. Mitchell, 508 U.S. 476 (1993), an
22     off-point decision rejecting a First Amendment challenge to the use of speech
23     expressing racial motive for an assault in a penalty enhancement.
24            As explained, the nature of Defendants’ past petitioning against unrelated hotel
25     developments and against the Bahia redevelopment is not relevant to any secondary
26     objective in purported threats to SeaWorld. In addition, the risk that Noerr-Pennington-
27     protected petitioning will be burdened by discovery requests or prejudicially made the
28     subject of contentions on unrelated matters is very much a reason to strike allegations

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1      and limit the scope of discovery. Discovery into political associations and activities are
2      subject to “exacting scrutiny” and only allowed where “the information sought is
3      highly relevant to the claims or defenses in the litigation.” Perry v. Schwarzenegger,
4      591 F.3d 1147, 1160, 1161 (9th Cir. 2010). This applies equally in cases that seek to
5      burden petitioning. Franchise Realty Interstate Corp. v. S.F. Loc. Joint Exec. Bd. Of
6      Culinary Workers, 542 F.2d 1076, 1082 (9th Cir. 1976) (“[A]n action like this one can
7      be, from the very beginning, a most potent weapon to deter the exercise of First
8      Amendment rights. The Supreme Court has consistently recognized the sensitivity of
9      First Amendment guarantees to the threat of harassing litigation, and has erected
10     barriers to safeguard those guarantees.”); Calvary Chapel San Jose v. Cody, No. 20-
11     CV-03794-BLF, 2022 WL 5264651, at *6 (N.D. Cal. Oct. 6, 2022) (striking
12     allegations about past petitioning: “Because sending the letters was privileged conduct
13     under the Noerr Pennington doctrine, it cannot supply a basis for any of Plaintiffs’
14     claims and thus becomes immaterial.”); Gamble v. Kaiser Found. Health Plan, Inc.,
15     348 F.Supp.3d 1003, 1027 (N.D. Cal. 2018) (striking allegations about prior litigation
16     and settlement agreements held protected under Noerr-Pennington).
17           Here, Defendants’ constitutionally protected past petitioning and speech has no
18     direct (or even indirect) relationship with the remaining civil offense Plaintiffs accuse
19     them of committing.
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